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19   Interim Lead Plaintiffs’ Counsel

20                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
21

22   IN RE UBER TEXT MESSAGING                    Case No. 4:18-cv-02931-HSG

23
                                                  STIPULATION AND ORDER REGARDING
24                                                BRIEFING SCHEDULE FOR DEFENDANT’S
                                                  MOTION TO STAY
25

26
                                                  Judge: Hon. Haywood S. Gilliam, Jr.
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28
                  STIP. AND ORDER REGARDING MTS BRIEFING SCHEDULE
                               CASE NO. 4:18-CV-02931-HSG
     sf-3956205
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 1           Plaintiffs Wanda Rogers, Lucius Manning, Andrew Katzman, Christopher Ziers, and

 2   Carla Vario (“Plaintiffs”) and Defendant Uber Technologies, Inc. (“Defendant”) hereby stipulate

 3   and agree as follows, and request entry of the below proposed order approving their stipulation.

 4          WHEREAS, the parties appeared for a Case Management Conference in this case on

 5   October 23, 2018;

 6          WHEREAS, on October 23, 2018, the Court issued a minute entry stating that “no case

 7   schedule will be set until a motion to stay has been e-filed with the Court,” and that “the parties

 8   are encouraged to meet and confer to discuss stipulating to an expedited briefing schedule” on

 9   Defendant’s anticipated Motion to Stay the Proceedings pending a decision on Defendant’s

10   forthcoming Motion to Compel Arbitration and Stay the Action (Dkt. No. 53);

11          WHEREAS, pursuant to the Court’s direction, the parties have met and conferred

12   regarding an expedited briefing schedule on Defendant’s Motion to Stay the Proceedings pending

13   resolution of Defendant’s forthcoming Motion to Compel Arbitration and Stay the Action, which

14   is due to be filed by November 1, 2018.

15                                                STIPULATION

16          THEREFORE, the parties hereby stipulate to and request entry of the following briefing

17   schedule on Defendant’s motion to stay:

18    Filing/Event                                       Deadline
      Defendant’s Motion to Stay the Proceedings         October 31, 2018
19
      Plaintiffs’ Opposition to Defendant’s Motion       November 9, 2018
20    to Stay the Proceedings
21    Defendant’s Reply in Support of Their Motion       November 16, 2018
      to Stay the Proceedings
22
      Hearing on Defendant’s Motion to Stay the          If the Court believes it would be helpful to set
23    Proceedings                                        a hearing on this motion, the parties request
                                                         that the Court set a hearing date at the Court’s
24                                                       earliest convenience.
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                  STIP. AND ORDER REGARDING MTS BRIEFING SCHEDULE                                           2
                                       Case No. 4:18-cv-02931-HSG
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       Case 4:18-cv-02931-HSG Document 55 Filed 10/30/18 Page 3 of 5



 1   Dated: October 29, 2018                Respectfully submitted,

 2                                          By:      /s/ Simon S. Grille
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 3
                                            Angelica M. Ornelas (State Bar No. 285929)
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                                            Interim Lead Plaintiffs’ Counsel
21
     Dated: October 29, 2018                By:     /s/ Tiffany Cheung
22
                                            Tiffany Cheung
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                  STIP. AND ORDER REGARDING MTS BRIEFING SCHEDULE                        3
                                Case No. 4:18-cv-02931-HSG
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       Case 4:18-cv-02931-HSG Document 55 Filed 10/30/18 Page 4 of 5



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 5
                                                  Attorneys for Defendant Uber Technologies, Inc.
 6

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 8                                            ATTESTATION
 9          I, Tiffany Cheung, am the ECF user whose identification and password are being used to
10   file this Stipulation and [Proposed] Order Regarding Briefing Schedule for Defendants’ Motion
11   to Stay. I attest under penalty of perjury that concurrence in this filing has been obtained from all
12   signatories above.
13

14   Dated: October 29, 2018                                       /s/ Tiffany Cheung
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                  STIP. AND ORDER REGARDING MTS BRIEFING SCHEDULE                                            4
                                      Case No. 4:18-cv-02931-HSG
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 1                                                ORDER

 2          This matter is before the Court on the Parties’ Stipulation and [Proposed] Order Regarding

 3   Briefing Schedule for Defendants’ Motion to Stay. The Court, having considered the parties’

 4   Stipulation, adopts the following briefing schedule on Defendant’s motion to stay:

 5
      Filing/Event                                     Deadline
 6    Defendant’s Motion to Stay the Proceedings       October 31, 2018
 7    Plaintiffs’ Opposition to Defendant’s Motion     November 9, 2018
      to Stay the Proceedings
 8
      Defendant’s Reply in Support of Their Motion     November 16, 2018
 9    to Stay the Proceedings

10    Hearing on Defendant’s Motion to Stay the        If the Court believes it would be helpful to set
      Proceedings                                      a hearing on this motion, the parties request
11                                                     that the Court set a hearing date at the Court’s
                                                       earliest convenience.
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13
     IT IS SO ORDERED.
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15
     DATED: October 30, 2018                             __________________________________
16                                                       Honorable Haywood S. Gilliam, Jr.
                                                         United States District Judge
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                  STIP. AND ORDER REGARDING MTS BRIEFING SCHEDULE                                         5
                                     Case No. 4:18-cv-02931-HSG
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